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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         §
In re:                                                   § Chapter 11
                                                         §
PLATINUM HEIGHTS, LP, 1                                  § Case No. 25-90012 (ARP)
                                                         §
                          Debtor.                        §
                                                         §
                                                         §

   DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING (I)
 RETENTION AND EMPLOYMENT OF HMP ADVISORY HOLDINGS, LLC, DBA
 HARNEY PARTNERS, AS FINANCIAL ADVISORS TO THE DEBTOR NUNC PRO
TUNC TO FEBRUARY 25, 2025 AND (II) THE EMPLOYMENT AND RETENTION OF
           ERIK WHITE AS CHIEF RESTRUCTURING OFFICER

           The above-captioned debtor and debtor in possession (the “Debtor”) states the following

in support of this application (the “Application”):

                                           RELIEF REQUESTED

         1.      The Debtor seeks entry of an order (the “Proposed Order”): (a) authorizing the

Debtor to employ and retain HMP Advisory Holdings, LLC, dba Harney Partners (“HP”) as its

financial advisor and Mr. Erik White of HP as its chief restructuring officer (“CRO”) in

accordance with the terms and conditions of the Proposed Order and that certain engagement letter

dated as of February 25, 2025 (the “Engagement Letter”) 2 a copy of which is attached to the

Proposed Order as Exhibit 1, (b) approving the terms of HP’s and the CRO’s employment and

retention including the fee and expense structure and the indemnification provisions set forth in

the Engagement Letter, (c) waiving certain informational requirements, and (d) grating related

relief. In support of the Application, the Debtor submits the declaration of Erik White a Managing



1
  The last four numbers of the Debtor’s federal taxpayer identification number are 4367. The location of the Debtor’s
service address is: 1917 Ashland Street, Houston, TX 70088.
2
  Capitalized terms used herein but undefined have the meaning provided in the Engagement Letter.

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Director of HP (the “White Declaration”), which is attached hereto as Exhibit A and incorporated

herein by reference.

                                 JURISDICTION AND VENUE

       2.      The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the Southern District of

Texas, dated May 24, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b). The Debtor

confirms its consent to entry of a final order in connection with this Application to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The bases for the relief requested herein are sections 327 and 328(a) of title 11 of

the United States Code (the “Bankruptcy Code”), rule 2014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 1075-1 2014-1 of the Bankruptcy Local Rules of

the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local

Rules”), and the Procedures for Complex Cases in the Southern District of Texas (the “Complex

Rules”).

                                        BACKGROUND

       5.      On February 20, 2025, the Debtor filed a voluntary petition under chapter 11 of the

Bankruptcy Code with the Court. The Debtor is a Texas limited partnership. The Debtor’s principal

real estate asset is a medical professional building referred to as the “Heights Hospital” (the

“Hospital”) located at 1917 Ashland Street, Houston, TX, 77008. The Hospital is a six-story




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midrise building where medical professionals may provide a variety of medical services to

patients.

        6.     The Debtor is operating its business and managing its property pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

        7.     As of the date hereof no creditor’s committee has been appointed in this chapter 11

case and there have been no requests for the appointment of a trustee or an examiner.

                            HP AND CRO’S QUALIFICATIONS

        8.     The Debtor seeks to retain HP as its financial advisor and Mr. White as its CRO

because, among other things, HP has a strong reputation and a wealth of experience providing

financial advisory and turnaround management services to debtors and creditors in financial

restructuring and bankruptcy proceedings similar to this chapter 11 case.

        9.     In connection with the performance of its duties and obligations as debtor-in-

possession, the Debtor desires to employ HP and Mr. White because HP is a multi-disciplined

financial advisory firm with leading practices in the areas of bankruptcy and financial

restructuring. HP and Mr. White have extensive experience and knowledge in the fields of

financial restructuring and turnaround services and have assisted numerous troubled companies

and creditors both in workout situations and in bankruptcy proceedings. HP and its personnel are

frequently engaged as estate professionals, including as chief restructuring officer, responsible

party, chapter 11 trustee, chapter 11 post-confirmation trustee, financial advisor, and court-

appointed receiver.

        10.    HP’s resources, experience, and capable professionals are critical to ensuring the

Debtor’s successful restructuring, satisfy a critical need of the Debtor, and compliment and

enhance the services being provided by the Debtor’s other retained professionals.



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       11.     Likewise, Mr. White is well-suited to serve as the Debtor’s CRO. Mr. White has

over 17 years of consulting, restructuring, and corporate finance experience. Additionally, the

Debtor’s proposed CRO, Mr. White, has experience serving in various roles, including as CRO

and financial advisor. Representative cases include In re Hilltop SPV, LLC, (Bankr W.D. Tex.

Case No. 24-60308-mmp), In re Cottonwood Financial Ltd, (Bankr N.D. Tex. Case No. 24-

80035), In re Catarina Construction LLC, (Bankr. W.D. Tex. Case No. 16-11209-hcm); In re

Richard Mark Phillips, (Bankr. W.D. Tex. Case No. 17-10068-tmd); In re Mary Brenna Rylee,

(Bankr. W.D. Tex. Case No. 21-10436-tmd); In re Bentoli Inc. (Bankr. W.D. Tex. Case No. 23-

10827-smr); In re Flix Brewhouse NM LLC (Bankr. W.D. Tex. Case No. 21-30676-hcm); and In

re 6 to 9 Dental Texas PLLC, (Bankr. W.D. Tex. Case No. 23-51139-cag).

       12.     Since its retention, HP has familiarized itself with the Debtor and its business, as

well as the Debtor’s financial affairs, debt structure, operational needs and related matters. HP has

worked closely with the Debtor’s management and counsel and has familiarity with the other major

stakeholders that are or will be involved in this chapter 11 case. For these reasons, the Debtor

believes that HP has developed relevant experience and expertise regarding the Debtor that makes

HP the best selection as the Debtor’s financial advisor.

       13.     Additionally, as the principal of HP in this engagement, Mr. White has sufficiently

familiarized himself with the Debtor’s operations to effectively serve in his role as CRO.

                     SERVICES TO BE PROVIDED TO THE DEBTOR

       14.     The Engagement Letter governs the relationship between the Debtor and HP. The

terms and conditions of the Engagement Letter were negotiated at arm’s length and in good faith

between the Debtor and HP, and reflect the parties’ mutual agreement as to the substantial efforts

that will be required in this engagement. Under the Engagement Letter in consideration for the



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compensation contemplated thereby, HP has provided and will provide the Debtor with the

following financial advisory services: 3

              a. Assist the Client and its counsel with general matters related to a
                 restructuring and contemplated chapter 11 proceeding, including by not
                 limited to case strategy development, data gathering, and financial
                 analysis, as needed;

              b. Assist the Client with bankruptcy required reporting, including Monthly
                 Operating Reports (MOR);

              c. Assist the Client and counsel, as requested, to complete Initial Debtor
                 Interview questionnaire and related information, complete and file the
                 required Schedules of Assets and Liabilities and Statement of Financial
                 Affairs and prepare for § 341 Meeting of Creditors;

              d. Assist the Client to and its counsel to obtain debtor-in-possession
                 financing, if needed;

              e. Assist the Client to develop and maintain thirteen-week cash forecasts
                 and any budget-to-actual reporting or other reporting as may be requited
                 by potential debtor-in-possession financing;

              f. Support the development of the Plan of Reorganization, including
                 financial projections liquidation analysis, claims analysis and
                 reconciliation, and other analysis, as needed; and

              g. Other services as may be agreed upon between HP and Client.

        15.      While the Debtor initially contemplated the retention of HP solely as a financial

advisor, after discussions with certain equity holders and creditors, to avoid any potential conflicts

of interest the Debtor has determined that it is in the best interest of the estate to seek the

appointment of the CRO. The Debtor therefore also respectfully submits that it will be necessary

to employ and retain the CRO pursuant to section 327 of the Bankruptcy Code to assist the Debtor




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 The summaries provided in this Application are provided for convenience only. In the event of any inconsistency
between any summary and the terms and provisions of the Engagement Letter, the terms of the Engagement Letter
control. Capitalized terms used but not otherwise defined in the summaries of the Engagement Letter contained herein
shall have the meanings ascribed to such terms in the Engagement Letter. In the event of any inconsistency between
any summary and the terms and provisions of the Proposed Order, the terms of the Proposed Order shall control.

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in the Chapter 11 Case. HP will support the Debtor’s CRO in the chapter 11 case by providing

various restructuring, managerial and financials services for the Debtor, which may include:

             a. assisting with investigation and preparation of the Debtor’s go-forward business
                and restructuring strategies;

             b. conferring with all retained estate professionals, including HP as financial advisor
                and the Debtor’s legal counsel;

             c. conferring with the Debtor and Debtor’s legal counsel regarding the retention of
                additional estate professionals, such as investment bankers or property brokers in
                furtherance of the Debtor’s objectives in the Chapter 11 Case, subject to the
                requirements of the Bankruptcy Code and Bankruptcy Rules;

             d. reviewing payments or transfers by or for the benefit of Debtor to ensure
                compliance with the Bankruptcy Code and applicable orders of the Court;

             e. assisting in the formulating of any plan of reorganization or liquidation for the
                Debtor or, if necessary, negotiating bidding procedures and advising the Debtor on
                the terms of any proposed sale of the Debtor’s assets;

             f. providing expert advice and testimony regarding financial matters related to,
                including, among other things, the feasibility of any proposed plan of
                reorganization; and

             g. taking any and all other actions that are necessary or appropriate to manage and
                operate the Debtor pursuant to the Bankruptcy Code, and applicable orders of the
                Court.

       16.      The Debtor believes that HP and CRO’s services will not duplicate the services

provided by other professionals retained by the Debtor in this chapter 11 case. HP and CRO will

use reasonable efforts to coordinate with the Debtor’s other professionals to avoid any unnecessary

duplication of work and services.

       17.      Notwithstanding the foregoing, and for the avoidance of doubt, the Debtor

respectfully submits that the CRO shall have sole-decision making authority over all of the

Debtor’s operations while the Debtor remains in chapter 11. Such sole-decision making power

and authority shall include, but shall not be limited to:

             a. unrestricted access to, and complete and unfettered control over, the Debtor’s cash

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                and bank deposit accounts;

             b. management of the Debtor’s leases and contracts;

             c. investigation and, if prudent, pursuit of estate causes of action; and

             d. management of any and all other matters in this chapter 11 case where there is a
                conflict of interest with the Dr. Mirza Baig, the Debtor’s general partner, the
                Debtor’s majority equity holder, and any of their respective affiliates.

       18.      The Debtor respectfully submits that Dr. Mirza Baig shall not restrict, inhibit, or

otherwise interfere with the CRO’s responsibilities. As soon as reasonably practicable following

entry of an order on this application, but in no event more than three (3) business days thereafter,

the Debtor will file a notice with the Court evidencing the appropriate corporate resolutions, or

similar governance documentation, appointing the CRO.

       19.      The Debtor further respectfully submits that Dr. Mirza Baig, in his capacity as the

Debtor’s authorized representative, will retain the right to formulate and propose the Debtor’s

chapter 11 plan, without prejudice to other parties’ rights under applicable law to seek (and the

Debtor’s right to oppose) authority to modify the Debtor’s exclusivity to file alternative plans,

after due notice and a hearing.


                               HP AND CRO’S COMPENSATION

       20.      In consideration of the services to be provided by HP as financial advisor and Mr.

White as CRO, and as more fully described in the Engagement Letter, subject to the Court’s

approval, the Debtor has agreed to compensate HP and Mr. White for their services based on (i)

hours spent by HP professionals at the following hourly rate and

                      President/EVP/COO                $700 to $800/hr

                      Managing Director                $550 to $700/hr




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                        Sr. Manager/Director                $400 to $550/hr

                        Manager                             $350 to $450/hr

                        Sr. Consultant                      $275 to $400/hr

                        Support Staff                       $180 to $300/hr


(ii) through the delivery to HP of a one-time, non-evergreen retainer in the amount of $35,000.00,

from its available cash, consistent with other orders of the Court, including any orders authorizing

use of cash collateral or post-petition financing.

        21.      The Debtor and HP anticipate that the services provided to the Debtor with be

provided primarily by Managing Director Erik White, whose hourly rate is $550 and Manager

Kyle Schanzer, whose hourly rate is $450 per hour. 4

        22.      Given the emergency nature of the Debtor’s bankruptcy filing, the Debtor did not

contact with HP until after the Petition Date. Given the emergency nature of HP’s retention, HP

agreed to provide financial advisory services to the Debtor conditioned upon the receipt of the

retainer. The Debtor believes that providing HP with its requested retainer is reasonable and

appropriate for a case of this size and given the emergency nature of the Debtor’s need for a

financial advisor. Further, the Debtor has already factored the $35,000.00 retainer into the

Debtor’s postpeititon financing facility which has been approved by this Court on an interim basis.

See Interim Order Authorizing Debtor’s Emergency Motion for Entry of Interim and Final Orders

(I) Authorizing the Debtor to Incur Postpetition Credit on an Unsecured Basis, (II) Scheduling a

Final Hearing, and (III) Granting Related Relief [Dkt. No. 29].




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  Notwithstanding the foregoing, additional resources and staffing may be needed and HP shall supplement the
service providers to the Debtor as necessary.

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       23.     The Debtor believes that the Fee Structure is comparable to fees generally charged

by financial advisors and investment bankers of similar size and capabilities of HP in the provision

of financial advisory services and a CRO for comparable engagements, both in and out of

bankruptcy proceedings. The Fee Structure is consistent with HP’s typical billing practices for

comparably sized and complex cases and transactions, both in and out of bankruptcy proceedings,

involving the services to be provided to the Debtor. In light of the foregoing the Debtor believes

that the Fee Structure is fair, reasonable and in line with market standards, and therefore in

accordance with the standards set forth in section 328(a) of the Bankruptcy Code.

             RECORD KEEPING AND APPLICATIONS FOR COMPENSATION

       24.     HP and CRO will maintain time records in one-tenth hour (0.10) increments setting

forth, in a summary format, a reasonably detailed description of the services rendered by each

professional and the amount of time spent on each date by each such individual in rendering

services on behalf of the Debtor.

       25.     HP and CRO will also maintain reasonably detailed records of any actual and

necessary costs and expenses incurred in connection with the aforementioned services. HP and

CRO’s applications for compensation and expense reimbursement will be paid by the Debtor

pursuant to the terms of the Engagement Letter and the applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and any other applicable procedures

established by the Court.




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                            HP AND CRO’S DISINTERESTEDNESS

       26.       To the best of the Debtor’s knowledge and belief, and except to the extent disclosed

herein and in the White Declaration, HP and CRO: (i) are each a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code; and (ii) do not hold or represent any interest

materially adverse to the Debtor or its estate.

       27.       As set forth in further detail in the White Declaration, HP and CRO have certain

connections with creditors and other parties in interest in this chapter 11 case. The Debtor, CRO

and HP do not believe that any of these connections constitute an interest materially adverse to the

interest of the estate or of any class of creditors or equity holders in this chapter 11 case.

       28.       To the extent HP or the CRO discover any material facts bearing on the matters

described herein during the period of HP or the CRO’s retention, HP and the CRO will amend and

supplement the information contained in this Application and the White Declaration to disclose

such facts.

       29.       Neither HP nor the CRO received any payments from the Debtor preceding the

Petition Date.

       30.       As set forth in the White Declaration, neither HP nor CRO have shared or agreed

to share any of their compensation from the Debtor with any other person, other than as permitted

by section 504 of the Bankruptcy Code. If any such agreement is entered into, HP and the CRO

will amend and supplement the information contained in this Application and the White

Declaration to disclose the terms of any such agreement.

       31.       No promises have been received by HP or the CRO, or by any professionals

engaged hereunder, as to compensation in connection with this case other than in accordance with

the provisions of the Bankruptcy Code.



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                                      INDEMNIFICATION

       32.     The Engagement Letter provides that the Debtor shall indemnify HP and its

employees, including the CRO, and the HP Parties and hold those parties harmless against any and

all claims, liabilities, losses, damages and expenses as incurred, related to or arising out of or in

connection to HP and the CRO’s engagements with the Debtor as set forth in the Engagement

Letter unless such losses, claims, damages, liabilities or expenses are finally judicially determined

that they are primarily due to such HP Party’s gross negligence or willful misconduct.

       33.     The Debtor, CRO and HP believe that the indemnification provisions of the

Engagement Letter are customary and reasonable for a financial advisory firm such as HP, and are

appropriate and customary in this jurisdiction. The terms of the Engagement Letter, including the

indemnification provisions, were negotiated by the Debtor, CRO and HP at arm’s length and in

good faith. The Debtor submits that such provisions, viewed in conjunction with the other terms

of HP’s proposed retention, are reasonable and in the best interests of the Debtor, its estate and

creditors in light of the fact that the Debtor require HP’s services in these chapter 11 cases.

                                         BASIS FOR RELIEF

       34.     The Debtor seeks authority to employ and retain HP as its financial advisor and

Mr. White as CRO under section 327 of the Bankruptcy Code, which authorizes a debtor to

employ professional persons “that do not hold or represent an interest adverse to the estate, and

that are disinterested persons, to represent or assist the debtor in carrying out the debtors’ duties

under this title.” 11 U.S.C. § 327(a).

       35.     In addition, the Debtor seeks approval of the Engagement Letter (including the Fee

Structure and the indemnification, contribution, reimbursement and other related provisions)

pursuant to section 328(a) of the Bankruptcy Code, which provides, in relevant part, that the Debtor



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“with the court’s approval, may employ or authorize the employment of a professional person

under section 327. . . on any reasonable terms and conditions of employment, including on a

retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11

U.S.C. § 328(a). Section 328 of the Bankruptcy Code permits the compensation of professionals,

including financial advisors and chief restructuring officers on terms that reflect the nature of their

services and market conditions. As the United States Court of Appeals for the Fifth Circuit

recognized in Donaldson Lufkin & Jenrette Sec. Corp. v. Nat’l Gypsum Co. (In re Nat’l Gypsum

Co.), 123 F.3d 861 (5th Cir. 1997):

               Prior to 1978 the most able professionals were often unwilling to
               work for bankruptcy estates where their compensation would be
               subject to the uncertainties of what a judge thought the work was
               worth after it had been done. That uncertainty continues under the
               present § 330 of the Bankruptcy Code, which provides that the court
               award to professional consultants “reasonable compensation” based
               on relevant factors of time and comparable costs, etc. Under present
               § 328 the professional may avoid that uncertainty by obtaining court
               approval of compensation agreed to with the trustee (or debtor or
               committee).

Id. at 862 (citations omitted), see also Riker, Danzig, Scherer, Hyland & Perretti LLP v. Official

Comm. of Unsecured Creditors (In re Smart World Techs. LLC), 383 B.R. 869, 874 (S.D.N.Y.

2008).

         36.   The Engagement Letter appropriately reflects (i) the nature and scope of services

to be provided by HP, (ii) HP’s substantial experience with respect to financial advisory services,

and (iii) the hourly Fee Structure typically utilized by HP and other financial advisors in cases of

this size and complexity. Accordingly, the Debtor believes that HP and the CRO’s retention on

the terms and conditions proposed herein is appropriate.

                 WAIVER OF BANKRUPTCY RULES 6004(a) and 6004(h)

         37.   The Debtor requests that the Court enter an order providing that notice of the relief

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requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtor has established cause to

exclude such relief from the fourteen-day stay period under Bankruptcy Rule 6004(h).

                                          NOTICE

       38.    Notice of this Motion will be served on the Secured Lender and any party entitled

to notice pursuant to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to

Bankruptcy Local Rule 9013-1(d).




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       WHEREFORE, the Debtor requests that the Court enter the Proposed Order granting the

relief requested herein and such other relief as the Court deems appropriate under the

circumstances

Dated: March 21, 2025
       Houston, Texas

/s/ Mirza N. Baig
Mirza N. Baig



                                     Certificate of Service

       I hereby certify that on March 21, 2025, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                /s/ Omar J. Alaniz
                                                Omar J. Alaniz




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